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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


                                                    MDL No. 2:18-mn-2873-RMG
IN RE: AQUEOUS FILM FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                       CASE MANAGEMENT ORDER NO. 21

                                                    This Order Relates to All Actions.



                                     Joint Sampling Protocol

       This Case Management Order establishes the procedures for Tier 2 sample collection,

handling, and analytical testing (“Sampling” or “Sample”) of environmental media, including but

not limited to Sampling performed pursuant to Federal Rule of Civil Procedure 34(a)(2) and/or

Federal Rule of Civil Procedure 45 or by any agreement of the parties to this litigation or other

third parties. With respect to non-parties to the litigation, this Protocol does not supplant the

requirements of Federal Rules of Civil Procedure 34 and 45 for third-party subpoena and party

notice requirements.

       1.      Any party seeking to Sample (the “Requesting Party”) environmental media at or

near an allegedly PFAS-impacted area relevant to claims in this litigation (“Site”) shall at least ten

days prior to the desired sampling event serve written notice (“Notice”) to designees for each of

the PEC and the DCC.

       2.      The Notice shall include a general description of the area(s) of the Site that

Requesting Party intends to Sample and the total number of samples the Requesting Party intends

to take, broken out by each type of media that the Requesting Party intends to Sample.

       3.      As necessary, the parties shall work together in good faith to provide each other

notice of and to accommodate any site-specific restrictions that exist at a particular site or any
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location within a site where sampling is to take place, including without limitation the property

owner’s existing and applicable security, health, and safety protocols, and site-specific security

obligations.

       4.      On the agreed Sampling date, the Parties shall conduct the split sampling, as

follows.

               a)      As to water samples:

                     i.       The Parties shall divide a single sample into multiple containers,
                              The samples shall be handled by the same person. As necessary, the
                              technician may collect more than one split sample for a particular
                              sampling event, not to exceed three such samples.

                    ii.       The Parties shall each also create identical field and, in the instance
                              that non-dedicated equipment is used, equipment blanks at each
                              sampling location by placing certified PFAS-free water into the
                              same containers each side is using for the sampling itself.

               b)     As to soil samples:

                      i.      The parties shall each obtain a core sample at the same location(s),
                              at a separation determined by the technician on site. As necessary,
                              the technician may collect more than one split sample for a particular
                              sampling event, not to exceed three such samples.

                      ii.     As with water samples, the soil samples shall be handled by the same
                              person.

                      iii.    The Parties shall each also create identical field and, in the instance
                              that non-dedicated equipment is used, equipment blanks at each
                              sampling location by placing certified PFAS-free water into the
                              same containers each side is using for the sampling itself.

       5.      The Parties shall maintain chain of custody records for all Samples taken. During

each Sampling event, the technician shall mark all bottles from the split sampling event with the

date/time/location of the Sample and then execute a chain of custody document containing: (1)

who took the sample, put the sample in the bottle, placed the lid on the bottle, and handed the

sealed bottle to the other party (if applicable), and (2) who received the sample from the other


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party (if applicable). The Parties shall exchange such chain of custody documents at the time the

Sampling event is taken.

       6.     Site-specific restrictions allowing, the parties may, but are not required to, have an

observer present during sampling.

       AND IT IS SO ORDERED.

                                                    s/ Richard Mark Gergel
                                                    Richard Mark Gergel
                                                    United States District Judge

 December 2, 2021
 Charleston, South Carolina




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